
79 So.3d 191 (2012)
James FLEISCHMAN, Petitioner,
v.
Kenneth S. TUCKER, Secretary, Florida Department of Corrections, Respondent.
No. 1D11-6322.
District Court of Appeal of Florida, First District.
February 9, 2012.
James Fleischman, pro se, Petitioner.
No appearance for Respondent.
*192 PER CURIAM.
The petition for mandamus is denied. See Moore v. Correctional Medical Services, 817 So.2d 963, 964 (Fla. 1st DCA 2002). To the extent the petition seeks to compel a ruling on Petitioner's Motion for Telephonic Hearing, the petition is denied as premature.
VAN NORTWICK, THOMAS, and ROWE, JJ., concur.
